Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 1 of 9




                Exhibit 2
Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 2 of 9
                       Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 3 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 4:21-CV-00450-JM

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)                               .

            ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            ’ I returned the subpoena unexecuted because:
                                                                                                                                                  .

            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $                                     .

My fees are $                                     for travel and $                              for services, for a total of $                0   .


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc.:
                        Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 4 of 9
AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
        Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 5 of 9




                                  SCHEDULE A

                                  DEFINITIONS

      A.     All terms used in these Document Requests (the “Requests”), including

but not limited to the terms “document,” “communication,” “identify,” “person” and

“concerning,” have the broadest meaning accorded to them under Fed. R. Civ. P. 34,

and all documents and information should be produced in accordance with the

Applicable Rules.

      B.     “Action” means the above-captioned action.

      C.     “Communication” means the transmittal of facts, ideas, thoughts,

opinions, data, inquiries or otherwise and includes, but is not limited to,

correspondence, memoranda, reports, presentations, face-to-face conversations,

telephone conversations, text messages, instant messages, voice messages,

negotiations, agreements, inquiries, understandings, meetings, letters, notes,

telegrams, mail, email, and postings of any type.

      D.     “Concern” or “concerning” means constituting, pertaining to, making

reference to, comprising, evidencing, alluding to, responding to, connected with,

commenting on, with respect to, about, regarding, resulting from, embodying,

explaining, supporting, contradicting, discussing, showing, describing, reflecting,

analyzing, setting forth, in respect of, having a relationship to, or in any way being
          Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 6 of 9




factually, legally or logically connected to, in whole or in part, the stated subject

matter.

      E.      “Document” means the original (or, if the information requested cannot

be provided as to the original, each and every copy, duplicate or reproduction) of

any medium upon which information can be recorded or retrieved, and includes any

written, recorded or graphic matter, in any language, whether produced or

reproduced or stored on paper, cards, tape, film, computer, electronic storage devices

or any other media and includes papers, trade letters, envelopes, telegrams, cables,

messages, correspondence, memoranda, notes, email, text messages, instant

messages, reports, studies, press releases, comparisons, books, accounts, checks,

audio and video recordings, pleadings, testimony, articles, bulletins, pamphlets,

brochures, magazines, questionnaires, surveys, charts, newspapers, calendars, lists,

logs, publications, notices, diagrams, instructions, diaries, meeting minutes, orders,

resolutions, agendas and memorials or notes of oral Communications, together with

all notations on any of the foregoing, all originals, file copies or other unique copies

of the foregoing and all versions of drafts thereof, whether used or not. A request

for all Documents concerning a particular subject matter includes within its scope

all Communications concerning that subject matter.




                                          -2-
        Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 7 of 9




      F.     “SAFE Act” means the Save Adolescents from Experimentation

(SAFE) Act, 2021 Ark. Act 626 (bill filed Feb. 25, 2021) (codified at Ark. Code 20-

9-1501 through -1504).

      G.     “You,” or “your” refer to Alan Clark.

                                 INSTRUCTIONS

      1.     In responding to these Requests, You are required to produce all

documents described below that are in Your possession, custody or control.

      2.     For the purpose of reading, interpreting or construing the scope of these

Requests, the terms used shall be given their most expansive and inclusive

interpretation.

      3.     Unless instructed otherwise, each request shall be construed

independently and not by reference to any other request for the purpose of limitation

or exclusion, except that each request shall not be construed to call for documents

that are called for by previous requests.

      4.     If You withhold any document, or any portion of any document, under

a claim of privilege, immunity or protection, including the attorney-client privilege

or work product doctrine, You shall provide a written privilege log that sets forth the

information required by Rule 26 of the Federal Rules of Civil Procedure.

      5.     If information is redacted or otherwise withheld from a document

produced in response to a request, You shall identify the redaction or otherwise


                                            -3-
        Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 8 of 9




withheld information by stamping the word “Redacted” on the document at each

place from which information has been redacted or otherwise withheld and

separately log each such redaction on the privilege log.

      6.     The documents must be produced as they are kept in the usual course

of business or organized and labeled to correspond with the Request number to

which the documents are responsive.

      7.     In the event that a copy of a requested document is not identical to any

other copy of the same document in Your possession, custody or control, all non-

identical copies shall be produced.

      8.     Unless otherwise indicated, these Requests pertain to the period of

October 1, 2020 to the present.

                             DOCUMENTS REQUESTED

      1.     All documents and communications concerning the SAFE Act,

including, but not limited to: video and audio recordings concerning any state

legislative hearings and committee meetings at which the SAFE Act was discussed;

documents concerning the proposal, enactment and ratification of the SAFE Act;

and documents concerning meetings and correspondence with any individual or

organization regarding the SAFE Act, including, but not limited to, the Heritage

Foundation and the Alliance Defending Freedom.




                                         -4-
        Case 4:21-cv-00450-JM Document 84-2 Filed 01/20/22 Page 9 of 9




      2.    All documents and communications concerning gender dysphoria,

gender transition, gender transition procedures, transgender people, and medical

policies and guidelines related to the treatment of gender dysphoria by professional

medical groups, including, but not limited to, the World Professional Association

for Transgender Health and the Endocrine Society.

      3.    All documents and communications concerning the impact of the SAFE

Act on the well-being of minors.




                                        -5-
